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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF PENNSYLVANIA


 JAMES EVERETT SHELTON,
          Plaintiff
                                                       Case No. 2:18-cv-03723-JDW
        v.

 FCS CAPITAL LLC, ET AL.,
           Defendants


                                                ORDER

        AND NOW, this 22nd day of October, 2019, upon consideration of Defendants’ Motion

 for an Extension of Time (ECF No. 44), the Court notes as follows:

       1) Defendants’ response to Plaintiff’s Motion for Summary Judgment is due today, the

             same day Defendants filed their motion for an extension;

       2) Defendants’ delay in seeking this extension is consistent with their pattern of

             inattentiveness to this litigation, as evidenced by the docket; and

       3) Defendants have been on notice of the issues to be raised and the diligence to be done to

             prepare a response to Plaintiff’s Motion for Summary Judgment for over a month, as

             Plaintiff first filed a motion on September 17, 2019.

In light of the foregoing, the Court ORDERS that Defendant’s Motion (ECF No. 44) is DENIED.


                                                       BY THE COURT:


                                                       /s/ Joshua D. Wolson
                                                       JOSHUA D. WOLSON, J.
